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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                          Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE,


                         Plaintiffs,
  v.


  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD               Civil Action No. 3:17-cv-00072-NKM
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSLEY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,




                         Defendants.


                    DECLARATION OF JESSICA PHILLIPS
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       I, Jessica Phillips, on this 2nd day of July, 2021, pursuant to 28 U.S.C. § 1746, declare as

follows:

       1.      I am a Partner at the law firm Paul, Weiss, Rifkind, Wharton & Garrison LLP

(“Paul, Weiss”), one of the law firms representing the Plaintiffs in this action.

       2.      I submit this Declaration in support of Plaintiffs’ Petition Regarding Recoverable

Attorneys’ Fees from Robert “Azzmador” Ray. Except to the extent otherwise expressly indicated,

I have personal knowledge of the matters set forth in this Declaration.

       3.      During the period of time relevant to Plaintiffs’ Petition Regarding Recoverable

Attorneys’ Fees from Ray, I was a Partner at Boies Schiller Flexner LLP (“BSF”), another one of

the law firms representing Plaintiffs in this action.

       4.      I am a member in good standing of the Washington, D.C. and Illinois State Bars. I

am also admitted to practice before the Supreme Court of the United States, the United States

Court of Appeals for the Seventh Circuit, the United States Court of Appeals for the District of

Columbia, the United States District Court for the Eastern District of Michigan, and the United

States District Court for the District of Columbia. I have been admitted to appear pro hac vice

before this Court for and on behalf of the Plaintiffs in the above-captioned action.

       5.      I have been a Partner at Paul, Weiss since July 31, 2020. I was a Partner at BSF

for approximately 2.5 years and before that a Counsel at BSF for 1.5 years. Prior to that, I was an

associate for seven years at Latham & Watkins LLP. I am an experienced trial attorney who has

litigated a variety of complex commercial cases in federal and state trial and appellate courts across

the country. I have participated in taking six cases to trial and have won multiple victories on

behalf of my clients. I have handled numerous appeals in both federal and state appeals court,

including before the United States Supreme Court. I graduated cum laude from Northwestern



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University School of Law in 2006 and was elected to the Order of the Coif. After law school, I

served as a law clerk to the Honorable Joel Flaum on the United States Court of Appeals for the

Seventh Circuit and subsequently to the Honorable Justice Samuel Alito on the Supreme Court of

the United States.

       6.      Yotam Barkai has been an associate at Kaplan Hecker & Fink LLP since August

2020. He was previously an associate at BSF starting in 2015. Mr. Barkai is a skilled trial and

appellate litigator.   His practice focuses on complex litigation, appeals, and government

investigations. Mr. Barkai has participated in trials and has also devoted significant time to

multiple amicus briefs on constitutional and civil rights issues. He has argued before the Fifth

Circuit Court of Appeals and successfully won reversal for his client. He has been appointed pro

bono counsel in various federal courts of appeals. Mr. Barkai graduated magna cum laude from

the New York University School of Law in 2013, was elected to the Order of the Coif, and won

numerous academic prizes and scholarships. After law school, Mr. Barkai served as a law clerk

to the Honorable Katherine B. Forrest on the United States District Court for the Southern District

of New York and subsequently to the Honorable Stephen F. Williams on the United States Court

of Appeals for the D.C. Circuit.

       7.      Katherine Cheng has been an associate at BSF since July 2018. Prior to joining

BSF, Ms. Cheng served as a law clerk to the Honorable Alan C. Kay on the U.S. District Court for

the District of Hawaii. She was previously a litigation associate at Latham & Watkins LLP. Ms.

Cheng is a skilled trial litigator and has been an integral part of multiple successful trial teams.

Her practice focuses on complex civil and antitrust litigation, including antitrust conspiracy issues.

She has devoted significant time to pro bono matters, including briefing a constitutional challenge

in the Ninth Circuit relating to state election procedures and previously representing homeless



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individuals in a constitutional challenge to a municipal ordinance. Ms. Cheng graduated from the

UCLA School of Law in 2014, was elected to the Order of the Coif, and received multiple

academic awards. During law school, she argued before the Ninth Circuit Court of Appeals and

successfully won remand on behalf of her client.

         8.    Josh Hasler was a paralegal at BSF from June 2018 to June 2020. He conducted

factual and legal research, helped manage case files, and assisted with filings for a variety of cases.

Mr. Hasler graduated from the University of Michigan in 2018 and served as a research assistant

for the Political Science Department and was an intern for Gretchen Driskell’s congressional

campaign. He also served as a student investigator for the Office of the Public Defender in

Washtenaw County where he conducted legal research, managed case files, and assisted in drafting

legal documents.

         9.    I was the lead attorney for Plaintiffs’ Motion for Evidentiary Sanctions Against

Defendant Robert “Azzmador” Ray and for an Order Directing Ray to Show Why He Should Not

Be Held in Contempt of Court, ECF. No. 750 (“June 1 Motion for Sanctions”), and supervised all

work related to implementing the Court’s May 18, 2020 Order, ECF No. 728, granting Plaintiffs’

Motion to Compel Discovery from Defendant Robert “Azzmador” Ray. Mr. Barkai assisted me

in researching and drafting the June 1 Motion for Sanctions and implementing the Court’s May 18

Order. Ms. Cheng and Mr. Hasler assisted Mr. Barkai and me with related ancillary tasks.

         10.   Exhibit A hereto reflects an accurate accounting, based on contemporaneous

records, of the reasonable fees associated with Plaintiffs’ counsel’s researching, drafting, and filing

of their June 1 Motion for Sanctions and work related to implementing the Court’s May 18, 2020

Order.




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       11.     Exhibit A was created using entries for this litigation from BSF’s electronic billing

system. Those entries were then edited to remove all entries, even if related to work caused by

Ray’s failure to comply with the Court’s May 18 Order, for attorneys or paralegals not described

in this Declaration. Then, Mr. Barkai, Ms. Cheng, and I each reviewed our remaining respective

entries, further removed any hours that were not dedicated to the June 1 Motion for Sanctions and

the Court’s May 18 Order, and edited any descriptions necessary to identify the work performed.

Ms. Cheng reviewed and edited Mr. Hasler’s time entries. I then reviewed the hours and excluded

further hours which, in my professional billing judgment, exceeded what would typically be

charged to a client for this kind of work (e.g., duplicative or excessive hours).

       12.     Although other attorneys at firms representing Plaintiffs in this litigation may have

performed legal services in connection with the foregoing, their time and expenses have been

excluded from the calculations in Exhibit A.

       13.     Also excluded from the calculations in Exhibit A is all of the time and expenses

Plaintiffs’ counsel expended on:

               a.      Other motions against Ray, including but not limited to Plaintiffs’ prior

motions to compel discovery and Ray’s deposition, Plaintiffs’ preparation for the September 14,

2020 Show Cause Hearing against Ray, and all work for which fees and costs are being sought

through other fee petitions.

               b.      Work done by other attorneys not identified in Plaintiffs’ Petition Regarding

Recoverable Attorneys’ Fees.

            c.         Preparing this Petition Regarding Recoverable Attorneys’ Fees from Robert
“Azzmador” Ray.




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        14.    The fees and expenses included in Exhibit A were necessarily incurred in

connection with the above. They are the type of costs typically billed to clients for this type of

work.

        15.    As set forth more fully in Plaintiffs’ Petition Regarding Recoverable Attorneys’

Fees from Robert “Azzmador” Ray, the requested hourly rates for the work described in Exhibit

A are reasonable for the Charlottesville, Virginia legal market. These rates represent a substantial

discount on BSF’s already-discounted hourly rate for this case, as set forth below:



         Individual             Discounted Hourly Rate for Hourly Rate Claimed in Fee
                                Sines v. Kessler           Petition
         Jessica Phillips       $800/hour                  $450/hour

         Yotam Barkai           $600/hour                             $275/hour

         Katherine Cheng        $450/hour                             $275/hour

         Josh Hasler            $200/hour                             $100/hour




        I declare under penalty of perjury that the foregoing is true and correct.


 Executed on: July 2, 2021                           /s/ Jessica Phillips
 Washington, D.C.                                    Jessica Phillips




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